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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

In re:                                           §
                                                 §   CASE NO. 23-57716-jrs
TIP TOP TUX, LLC, et al.                         §   Chapter 7
                                                 §
                        Debtor.                  §   (Jointly Administered)

                            NOTICE OF APPEARANCE AND
                   REQUEST FOR NOTICE AND SERVICE OF PLEADINGS


         PLEASE TAKE NOTICE that RED Development, LLC (“RED”), by and through its

counsel, Singer & Levick, P.C., files this, its Notice of Appearance and Request for Notice and

Service of Pleadings.

         Pursuant to Bankruptcy Rules 2002, 9007 and 9010, and Sections 102(1), 342, and 1109(b)

of the BANKRUPTCY CODE, RED respectfully requests that all notices given or required to be given

in these proceedings and all papers served or required to be served in these proceedings be served

upon its counsel at the address, telephone number and email address listed below.

                                      Michelle E. Shriro, Esq.
                                       Singer & Levick, P.C.
                                   16200 Addison Road, Suite 140
                                       Addison, Texas 75001
                                        Phone: 972.380.5533
                                         Fax: 972.380.5748
                                  Email: mshriro@singerlevick.com

         PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109 (b) of the

BANKRUPTCY CODE, the foregoing request includes not only the notices and papers referred to in

the Rules specified above, but also includes, without limitation, Orders and notices of any

Application, Motion, Petition, pleading, request, complaint, or demand, whether formal or




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informal, whether written or oral, whether transmitted or conveyed by mail, delivery, telephone,

facsimile, or otherwise.

       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for

Notice and Service of Pleadings is without prejudice to: (1) RED’s rights, remedies, claims,

actions, defenses, setoffs, or recoupments, in law or in equity, against the Debtor and any other

entities either in this case or in any other action, all of which rights, remedies, claims, actions,

defenses, setoff and recoupments are expressly reserved, and (2) any objection which may be made

to the jurisdiction of the Court, and shall not be deemed or construed to submit RED to the

jurisdiction of the Court.

DATED: September 3, 2023

                                              Respectfully submitted,

                                              SINGER & LEVICK, P.C.

                                              By:     /s/ Michelle E. Shriro
                                                     Michelle E. Shriro
                                                     Texas State Bar No. 18310900

                                              16200 Addison Road, Suite 140
                                              Addison, Texas 75001
                                              Phone: 972.380.5533
                                              Fax: 972.380.5748
                                              Email: mshriro@singerlevick.com

                                              ATTORNEYS FOR:
                                              RED DEVELOPMENT, LLC




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of this document will be electronically mailed to the parties that
are registered or otherwise entitled to receive electronic notices in this case pursuant to the
Electronic Filing Procedures in this District, which includes the parties listed below, on this 3rd
day of September, 2023.

 DEBTORS:                                           COUNSEL FOR DEBTORS:
 Tip Top Tux, LLC, et al.                           Willaim A. Rountree
 500 Floyd Blvd.                                    Rountree Leitman Klein & Geer, LLC
 Sioux City, IA 51101                               2987 Clairmont Road, Suite 350
 VIA ECF Noticing through their counsel             Atlanta, GA 30329
                                                    VIA ECF Noticing

 TRUSTEE:                                           US TRUSTEE:
 Jason L. Pettie                                    Office of the US Trustee
 Taylor English Duma                                75 Ted Turner Drive, SW, Room 362
 1600 Parkwood Circle, SE, Suite 200                Atlanta, GA 30303
 Atlanta, GA 30339                                  VIA ECF Noticing
 VIA ECF Noticing


                                                       /s/ Michelle E. Shriro
                                                      Michelle E. Shriro




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